     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 1 of 51 Page ID #:1




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      Attorneys for Plaintiff The Lovesac Company

18
                     IN THE UNITED STATES DISTRICT COURT
19
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
20

21
       THE LOVESAC COMPANY,                    Case No: 2:21-cv-9904
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23
                         Plaintiff,            COMPLAINT FOR PATENT
                                               INFRINGEMENT
24     vs.
25
       STITCH INDUSTRIES, INC. dba             JURY TRIAL DEMANDED
26     JOYBIRD
27
                         Defendant.
28

                                                                             COMPLAINT
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 2 of 51 Page ID #:2




1           Plaintiff The Lovesac Company (“Lovesac”) hereby asserts the following
2     claims for patent infringement of United States Patent Nos. 7,213,885, 7,419,220,
3     8,783,778, 10,123,623, 10,154,733, and 10,806,261 (the “patents-in-suit,” attached
4     hereto as Exhibits A-F respectively) against Defendant Stitch Industries, Inc. dba
5     Joybird (“Joybird”) and alleges as follows:
6                                    INTRODUCTION
7           1.    Lovesac was founded in 1995, when founder Shawn Nelson built the
8     original eight-foot-wide foam-filled “Lovesac” in the basement of his parents’ Utah
9     home. Shawn would turn his passion into the company called Lovesac, named after
10    the original nylon Lovesac he built in 1995.
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22          2.    In the early 2000s, Lovesac continued its innovative approach to
23    furniture, and in 2005 invented an entirely new category of modular furniture.
24    Lovesac’s Sactionals® line of modular furniture introduced interchangeable furniture
25    components designed such that numerous different product configurations could be
26    created using a selection of modular components. Lovesac sought patents covering
27    its innovative new design beginning in June 2005.
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                                                                               COMPLAINT
                                              -1-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 3 of 51 Page ID #:3




1           3.     The Sactionals innovative, patented 2-piece system leverages the
2     interchangeability of its base and side components to allow for the construction of
3     dozens of possible configurations, a few of which are shown below.
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26          4.     In addition to being modular and reconfigurable, Sactionals separate
27    back and side pieces makes Sactionals the perfect fit for smaller spaces where
28    traditional non-modular furniture was difficult to move or install.
                                                                              COMPLAINT
                                               -2-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 4 of 51 Page ID #:4




1           5.    Beginning in 2021, Joybird introduced an infringing knock-off of the
2     Lovesac Sactionals modular furniture product. Joybird’s “Notch Modular” furniture
3     copies many of the innovative and patented elements of Sactionals, and advertises
4     the same modular, reconfigurable function.
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14                       https://joybird.com/modular/notch-modular
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                         https://joybird.com/modular/notch-modular
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                                                                             COMPLAINT
                                            -3-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 5 of 51 Page ID #:5




1            6.     Lovesac brings this lawsuit to hold Joybird accountable for its willful
2     infringement of Lovesac’s patent rights.
3                                         THE PARTIES
4            7.     Plaintiff The Lovesac Company is a Delaware corporation with a
5     principal place of business at Two Landmark Square Suite 300 Stamford, CT 06901.
6     Lovesac also maintains other established places of business, including retail business
7     locations in this district including, for example, a retail store location at 1308
8     Montana Ave, Santa Monica, California 90403
9            8.     Defendant Stitch Industries, Inc. dba Joybird is a Delaware corporation
10    with a principal place of business at 6055 E. Washington Blvd. #900, Commerce,
11    CA 90040. Joybird also maintains other established places of business, including
12    retail business locations in this district including, for example, a retail store location
13    at 8335 Melrose Ave, Los Angeles, CA 90069.
14           9.     Joybird is a furniture manufacturing, distribution, and retail company.
15    Joybird conducts product development, engineering, testing, sales, online retail and
16    sales activities, as well as brick-and-mortar retail and sales activities in this district.
17           10.    Joybird directly and/or indirectly develops, designs, manufactures,
18    distributes, markets, offers to sell, sells, and/or imports the infringing Notch Modular
19    products at issue in this litigation in/into the United States, including in the Central
20    District of California, and otherwise purposefully directs infringing activities to this
21    District in connection with its Joybird product-related activities.
22                               JURISDICTION AND VENUE
23           11.    As this is a civil action for patent infringement arising under the patent
24    laws of the United States, 35 U.S.C. § 1 et seq., this Court has subject matter
25    jurisdiction over the matters asserted herein under 28 U.S.C. §§ 1331 and 1338(a).
26           12.    This Court has personal jurisdiction over Joybird because, pursuant to
27    Fed. R. Civ. P. 11(b)(3), Joybird has: (1) availed itself of the rights and benefits of
28    the laws of the State of California, (2) transacted, conducted, and/or solicited
                                                                                      COMPLAINT
                                                 -4-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 6 of 51 Page ID #:6




1     business and engaged in a persistent course of conduct in the State of California (and
2     in this district), (3) derived substantial revenue from the sales and/or use of products,
3     such as the infringing Joybird Notch Modular product, in the State of California (and
4     in this District), (4) purposefully directed activities (directly and/or through
5     intermediaries), such as shipping, distributing, offering for sale, selling, and/or
6     advertising its infringing Joybird Notch Modular product, at residents of the State of
7     California (and residents in this district), (5) delivered its infringing Joybird Notch
8     Modular products into the stream of commerce with the expectation that its Joybird
9     Notch Modular products will be used and/or purchased by consumers, and (6)
10    committed acts of patent infringement in the State of California (and in this district).
11          13.    This Court also has personal jurisdiction over Joybird because it is
12    registered to do business in the State of California and has one or more regular and
13    established places of business in the Central District of California.
14          14.    Venue is proper in this District under the provisions of 28 U.S.C. §
15    1400(b) because, as noted above, Joybird has committed acts of infringement in this
16    district and has one or more regular and established places of business in this district.
17                                       BACKGROUND
18          15.    As the specification for exemplary U.S. Patent No. 7,213,885 (the “’885
19    Patent”) explains, customers appreciate furniture that can be easily cleaned, can be
20    moved and stored with ease, and which provides multiple functions. See, e.g., ’885
21    Patent (Ex. A), at 1:24-53. One aspect of the invention of the ’885 Patent relates to
22    a “modular furniture assembly that can be assembled, disassembled, rearranged,
23    moved, and cleaned in a quick and efficient manner with minimal effort.” See, e.g.,
24    ’885 Patent (Ex. A), at 1:57-59.
25          16.    According to one aspect of the invention of the ’885 Patent, “base(s)
26    and transverse member(s) can be placed in a variety of different positions so as to
27    form a variety of different chairs.” See, e.g., ’885 Patent (Ex. A) at 2:15-17. The
28    Patent describes this relationship as follows:
                                                                                    COMPLAINT
                                                -5-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 7 of 51 Page ID #:7




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                    In one embodiment, the base and transverse member are sized
                    and configured in a defined spatial relationship. For example, in
2                   such an embodiment, the length (x) of the base is substantially
3                   equal to the length (x) of the transverse member, and the length
                    (x) of the base is Substantially equal to the sum of the width (y)
4                   of the base and the width (z) of the transverse member. Thus, x
5                   is substantially equal to y+z. This relationship enables the
                    convenient formation of a variety of different types, sizes and
6
                    configurations of furniture assemblies.
7

8     See, e.g., ’885 Patent (Ex. A) at 2:18-23. The patent illustrates an example of this
9     spatial relationship in Figure 1.
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20    See, e.g., ’885 Patent (Ex. A) at Fig. 1.
21          17.     The ’885 Patent further discloses that this “standardized configuration
22    of bases and transverse members enables a user to form a variety of different types
23    and configurations of furniture assemblies.” See, e.g., ’885 Patent (Ex. A) at 2:30-
24    33.
25          18.     The ’885 Patent discloses other benefits of the Sactionals innovative
26    design.     For example, the ’885 Patent discloses that such configurations are
27    advantageous in manufacturing, “because a manufacturer can produce a series of
28    bases that have a substantially similar configuration and a series of transverse
                                                                                  COMPLAINT
                                                  -6-
     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 8 of 51 Page ID #:8




1     members that have a substantially similar configuration, then arrange (or allow the
2     end user to arrange) the bases and transverse members into a variety of
3     configurations to form different types of furniture.” See, e.g., ’885 Patent (Ex. A) at
4     2:34-40. This innovative design also permits a manufacturer or retailer to stock just
5     two pieces of furniture: a base and a transverse member. See, e.g., ’885 Patent
6     (Ex. A) at 2:8-10.
7           19.    This flexibility also provides an advantage to the customer, who can
8     combine bases and transverse members into many different configurations. See, e.g.,
9     ’885 Patent (Ex. A) at 2:40-43.
10          20.    The ’885 Patent further discloses that the modular nature of the claimed
11    invention is useful in moving furniture pieces into place:
12                 the present invention enables the consumer to have a piece of
                   furniture in a remote location where previously other pieces of
13
                   furniture could not be moved due to their bulkiness and/or size.
14                 The present invention is easily disassembled, thus enabling a
15
                   consumer to locate the base(s) and/or transverse member(s) in an
                   otherwise inaccessible location and then assemble them to form
16                 a furniture assembly.
17    See, e.g., ’885 Patent (Ex. A) at 3:1-8.
18          21.    In addition, the claimed invention of the ’885 Patent also includes
19    “removable outer liners” for the transverse members and the base, which allows a
20    customer to easily clean and launder the modular furniture assembly. See, e.g., ’885
21    Patent (Ex. A) at 3:18-20.
22          22.    The ’885 Patent further discloses exemplary coupler devices that allow
23    the bases and transverse members to be configured in numerous different ways, as
24    shown in the exemplary figure below:
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                                                                                  COMPLAINT
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     Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 9 of 51 Page ID #:9




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11    See, e.g., ’885 Patent (Ex. A) at Figure 8.
12          23.    The Lovesac Sactionals product has received numerous positive
13    reviews from critics and influencers alike. For example, in one review titled Lovesac
14    Sactional Review: My Recommendation After 4 Years, a reviewer summarized their
15    opinion as follows:
16                 The Lovesac Sactional is the most versatile couch I have ever
                   owned. It is also the most durable. I bought my first Sactional
17
                   back in July of 2013. Just recently I bought another back and seat
18                 to expand it as my family is growing. Although this furniture
19
                   isn’t cheap, you definitely get what you pay for which is quality
                   that will stand the test of time and kids.
20

21    Ben Trapskin, Lovesac Sactional Review: My Recommendation After 4 Years, THE
22    SLEEP SHERPA,      Oct. 13, 2021, available at https://sleepsherpa.com/lovesac-
23    sactional-review-recommendation-4-years/ (Ex. G).
24          24.    Another reviewer made similar comments regarding the Lovesac
25    Sactionals product, giving high praise:
26                 [Lovesac Sactionals] claims to be the world’s most adaptable
27
                   couch and, honestly, it just may be. The Lovesac Sactionals are
                   comprised of combinable pieces, with “seats” (where you sit) and
28                 “sides” (the back and arms). The couches are endlessly
                                                                                 COMPLAINT
                                                -8-
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 10 of 51 Page ID #:10




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                  customizable (they fit together like puzzle pieces), with the
                  possibility to start small and add to it over time.
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3    Bailey Berg, Couch Review: Lovesac Sactional, ARCHITECTURAL DIGEST,
4    November 4, 2021 available at https://www.architecturaldigest.com/story/lovesac-
5    sactional-review, (Ex. H).
6          25.    Joybird began manufacturing and selling furniture in 2014.
7          26.    More recently, Joybird recently expanded its product offerings with its
8    new “Notch Modular” product which copies many of the patent innovations of the
9    Lovesac Sactionals product. The Joybird Notch Modular product competes directly
10   with the Lovesac Sactionals product.
11
                           COUNT I: PATENT INFRINGEMENT
12                            U.S. PATENT NO. 7,213,885
13         27.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
14   fully set forth herein.
15         28.    On May 8, 2007, the United States Patent Office duly and legally issued
16   the ’885 Patent. A true and correct copy of the ’885 Patent is attached as Exhibit A.
17         29.    Lovesac owns the ’885 Patent by assignment.
18         30.    Lovesac provided actual notice to Joybird of its infringement of the
19   ’885 Patent prior to the filing of this lawsuit.
20         31.    As just one non-limiting example, set forth below is an exemplary
21   infringement claim chart for claim 1 of the ’885 Patent in connection with the
22   Joybird Notch Modular product. This claim chart is based on publicly available
23   information, and Lovesac reserves the right to modify this claim chart, including, for
24   example, on the basis of information about the Joybird Notch Modular products that
25   Lovesac obtains in discovery.
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                                                                                COMPLAINT
                                               -9-
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 11 of 51 Page ID #:11




1     ’885 pat., cl. 18            Joybird Notch Modular Product
2
     A modular
3    furniture
4
     assembly
     comprising:
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12                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                          Joybird Notch Modular – Assembly Instructions (Ex. I)

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                                                                        COMPLAINT
                                        - 10 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 12 of 51 Page ID #:12




1    a base configured
     such that the base
2
     has a length (x)
3    and a width (y);
4

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8
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
9
     a transverse
10   member having a
11   length (x′) and a
     width (z);
12

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17
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
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27                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                        COMPLAINT
                                        - 11 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 13 of 51 Page ID #:13




1    wherein the base
     and the
2
     transverse
3    member have a
     defined spatial
4
     relationship, the
5    defined spatial
     relationship
6
     being: the length
7    (x) of the base is
     substantially
8
     equal to the         Joybird Notch Modular – Assembly Instructions (Ex. I)
9    length (x′) of the
10
     transverse
     member, and
11

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18                        Joybird Notch Modular – Assembly Instructions (Ex. I)
19   the length (x) of
20   the base is
     substantially
21   equal to the sum
22   of the width (y)
     of the base and
23
     the width (z) of
24   the transverse
     member, such
25
     that different
26   furniture
     configurations can   Joybird Notch Modular – Assembly Instructions (Ex. I)
27
     be formed.
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                                                                        COMPLAINT
                                        - 12 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 14 of 51 Page ID #:14




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                              Joybird Notch Modular – Assembly Instructions (Ex. I)
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11         32.    Additionally and/or alternatively, Joybird has indirectly infringed and
12   continues to indirectly infringe the asserted claims of the ’885 Patent, in violation of
13   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
14   products to directly infringe the asserted claims of the ’885 Patent. In particular,
15   (a) Joybird has actual knowledge of the ’885 Patent or was willfully blind to its
16   existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
17   urges, or encourages users of the Joybird Notch Modular products to directly
18   infringe one or more claims of the ’885 Patent by promoting, advertising, and
19   instructing customers and potential customers about the Joybird Notch Modular
20   products and uses thereof, including infringing uses (see Ex. I), (c) Joybird knows
21   (or should know) that its actions will induce users of the Joybird Notch Modular
22   products to directly infringe one or more claims the ’885 Patent (see ¶ 30, above),
23   and (d) users of the Joybird Notch Modular products directly infringe one or more
24   claims of the ’885 Patent. For example, at a minimum, Joybird supplied and
25   continues to supply Joybird Notch Modular products to customers while knowing
26   that use of the Joybird Notch Modular products infringes one or more claims of the
27   ’885 Patent and that Joybird’s customers then directly infringe one or more claims
28   of the ’885 Patent by installing and/or using the Joybird Notch Modular products in
                                                                                  COMPLAINT
                                              - 13 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 15 of 51 Page ID #:15




1    accordance with Joybird’s product literature. See, e.g., Ex. I. As another example,
2    Joybird has supplied and continues to supply Joybird Notch Modular products to
3    customers while knowing that use of these products will infringe one or more claims
4    of the ’885 Patent and that Joybird’s customers directly infringe one or more claims
5    of the ’885 Patent by using Joybird Notch Modular products in accordance with
6    Joybird’s product literature. See, e.g., Ex. I.
7           33.    Additionally and/or alternatively, Joybird has indirectly infringed and
8    continues to indirectly infringe one or more of the claims of the ’885 Patent, in
9    violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
10   and/or importing into the United States, components in connection with the Joybird
11   Notch Modular products that contribute to the direct infringement of the ’885 Patent
12   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
13   knowledge of the ’885 Patent or was willfully blind to its existence prior to, and no
14   later than, the filing of this action (see ¶ 30, above), (b) Joybird offers for sale, sells,
15   and/or imports, in connection with the Joybird Notch Modular products, one or more
16   material components of the invention of the ’885 Patent that are not staple articles
17   of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
18   should know) that such component(s) were especially made or especially adapted
19   for use in an infringement of the ’885 Patent, and (d) users of devices that comprise
20   such material component(s) directly infringe one or more claims of the ’885 Patent.
21   For example, at a minimum, Joybird offers for sale, sells, and/or imports Joybird
22   Notch Modular products that meet one or more claims of the ’885 Patent. See, e.g.,
23   Ex. I. The components of Joybird Notch Modular products are material components
24   of the devices that meet the one or more claims of the ’885 Patent. Further, Joybird
25   especially made and/or adapted the components of the Joybird Notch Modular
26   products for use in devices that meet the one or more claims of the ’885 Patent, and
27   the components of Joybird Notch Modular products are not a staple article of
28   commerce suitable for substantial non-infringing use. Joybird’s customers directly
                                                                                     COMPLAINT
                                                - 14 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 16 of 51 Page ID #:16




1    infringe the one or more claims of the ’885 Patent by installing and/or using the
2    components of the Joybird Notch Modular products.
3          34.    Joybird’s infringement of the ’885 Patent is also willful because Joybird
4    (a) had actual knowledge of the ’885 Patent and/or was willfully blind to its existence
5    prior to, and no later than, the filing of this action (see ¶ 30, above), (b) engaged in
6    the aforementioned activity despite an objectively high likelihood that Joybird’s
7    actions constituted infringement of the ’885 Patent, and (c) this objectively-defined
8    risk was either known or so obvious that it should have been known to Joybird.
9          35.    Additional allegations regarding Joybird’s pre-suit knowledge of the
10   ’885 Patent and willful infringement will likely have evidentiary support after a
11   reasonable opportunity for discovery.
12         36.    Lovesac is in compliance with any applicable marking and/or notice
13   provisions of 35 U.S.C. § 287 with respect to the ’885 Patent.
14         37.    Lovesac is entitled to recover from Joybird all damages that Lovesac
15   has sustained as a result of Joybird’s infringement of the ’885 Patent, including,
16   without limitation, a reasonable royalty and lost profits.
17         38.    Joybird’s infringement of the ’885 Patent was and continues to be
18   willful and deliberate, entitling Lovesac to enhanced damages.
19         39.    Joybird’s infringement of the ’885 Patent is exceptional and entitles
20   Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
21   U.S.C. § 285.
22         40.    Joybird’s infringement of the ’885 Patent has caused irreparable harm
23   (including the loss of market share) to Lovesac and will continue to do so unless
24   enjoined by this Court.
25
                          COUNT II: PATENT INFRINGEMENT
26                            U.S. PATENT NO. 7,419,220
27         41.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
28   fully set forth herein.
                                                                                  COMPLAINT
                                              - 15 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 17 of 51 Page ID #:17




1          42.    On September 2, 2008, the United States Patent Office duly and legally
2    issued the ’220 Patent. A true and correct copy of the ’220 Patent is attached as
3    Exhibit B.
4          43.    Lovesac owns the ’220 Patent by assignment.
5          44.    Lovesac provided actual notice to Joybird of its infringement of the
6    ’220 Patent prior to the filing of this lawsuit.
7          45.    As just one non-limiting example, set forth below is an exemplary
8    infringement claim chart for claim 3 of the ’220 Patent in connection with the
9    Joybird Notch Modular product. This claim chart is based on publicly available
10   information, and Lovesac reserves the right to modify this claim chart, including, for
11   example, on the basis of information about the Joybird Notch Modular products that
12   Lovesac obtains in discovery.
13

14      ’220 pat., cl. 3                  Joybird Notch Modular Product
15
      A liner assembly
16    for modular
17
      furniture, the
      modular furniture
18    having a base and
19    a transverse
      member, the liner
20    assembly
21    comprising:
22

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27
                               Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                                COMPLAINT
                                               - 16 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 18 of 51 Page ID #:18




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2    a base liner
     adapted to cover
3    the base, the base
4    liner having a
     length (x) and a
5
     width (y);
6

7

8

9

10
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
11
     a transverse
12
     member liner
13   adapted to cover
     the transverse
14
     member, the
15   transverse
     member liner
16
     having a length
17   (x′) and a width
18
     (z);

19

20
                          Joybird Notch Modular – Assembly Instructions (Ex. I)

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                                                                        COMPLAINT
                                        - 17 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 19 of 51 Page ID #:19




1                         Joybird Notch Modular – Assembly Instructions (Ex. I)
2    wherein the base
     liner and the
3    transverse
4    member liner
     have a defined
5
     spatial
6    relationship, the
     defined spatial
7
     relationship
8    being:
9    the length (x) of
     the base liner is
10
     substantially        Joybird Notch Modular – Assembly Instructions (Ex. I)
11   equal to the
     length (x′) of the
12
     transverse
13   member liner,
14
     and

15

16

17

18

19
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
20
     the length (x) of
21
     the base liner is
22   substantially
     equal to the sum
23
     of the width (y)
24   of the base liner
25
     and the width (z)
     of the transverse
26   member liner.
27

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                                                                        COMPLAINT
                                        - 18 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 20 of 51 Page ID #:20




1                             Joybird Notch Modular – Assembly Instructions (Ex. I)
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9
                              Joybird Notch Modular – Assembly Instructions (Ex. I)
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12         46.    Additionally and/or alternatively, Joybird has indirectly infringed and
13   continues to indirectly infringe the asserted claims of the ’220 Patent, in violation of
14   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
15   products to directly infringe the asserted claims of the ’220 Patent. In particular,
16   (a) Joybird has actual knowledge of the ’220 Patent or was willfully blind to its
17   existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
18   urges, or encourages users of the Joybird Notch Modular products to directly
19   infringe one or more claims of the ’220 Patent by promoting, advertising, and
20   instructing customers and potential customers about the Joybird Notch Modular
21   products and uses thereof, including infringing uses (See Ex. I), (c) Joybird knows
22   (or should know) that its actions will induce users of the Joybird Notch Modular
23   products to directly infringe one or more claims the ’220 Patent (see ¶ 44, above),
24   and (d) users of the Joybird Notch Modular products directly infringe one or more
25   claims of the ’220 Patent. For example, at a minimum, Joybird supplied and
26   continues to supply Joybird Notch Modular products to customers while knowing
27   that use of the Joybird Notch Modular products infringes one or more claims of the
28   ’220 Patent and that Joybird’s customers then directly infringe one or more claims
                                                                                  COMPLAINT
                                              - 19 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 21 of 51 Page ID #:21




1    of the ’220 Patent by installing and/or using the Joybird Notch Modular products in
2    accordance with Joybird’s product literature. See, e.g., Ex. I. As another example,
3    Joybird has supplied and continues to supply Joybird Notch Modular products to
4    customers while knowing that use of these products will infringe one or more claims
5    of the ’220 Patent and that Joybird’s customers directly infringe one or more claims
6    of the ’220 Patent by using Joybird Notch Modular products in accordance with
7    Joybird’s product literature. See, e.g., Ex. I.
8           47.    Additionally and/or alternatively, Joybird has indirectly infringed and
9    continues to indirectly infringe one or more of the claims of the ’220 Patent, in
10   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
11   and/or importing into the United States, components in connection with the Joybird
12   Notch Modular products that contribute to the direct infringement of the ’220 Patent
13   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
14   knowledge of the ’220 Patent or was willfully blind to its existence prior to, and no
15   later than, the filing of this action (see ¶ 44, above), (b) Joybird offers for sale, sells,
16   and/or imports, in connection with the Joybird Notch Modular products, one or more
17   material components of the invention of the ’220 Patent that are not staple articles
18   of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
19   should know) that such component(s) were especially made or especially adapted
20   for use in an infringement of the ’220 Patent, and (d) users of devices that comprise
21   such material component(s) directly infringe one or more claims of the ’220 Patent.
22   For example, at a minimum, Joybird offers for sale, sells, and/or imports Joybird
23   Notch Modular products that meet one or more claims of the ’220 Patent. See, e.g.,
24   Ex. I. The components of Joybird Notch Modular products are material components
25   of the devices that meet the one or more claims of the ’220 Patent. Further, Joybird
26   especially made and/or adapted the components of the Joybird Notch Modular
27   products for use in devices that meet the one or more claims of the ’220 Patent, and
28   the components of Joybird Notch Modular products are not a staple article of
                                                                                     COMPLAINT
                                                - 20 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 22 of 51 Page ID #:22




1    commerce suitable for substantial non-infringing use. Joybird’s customers directly
2    infringe the one or more claims of the ’220 Patent by installing and/or using the
3    components of the Joybird Notch Modular products.
4          48.    Joybird’s infringement of the ’220 Patent is also willful because Joybird
5    (a) had actual knowledge of the ’220 Patent or was willfully blind to its existence
6    prior to, and no later than, the filing of this action (see ¶ 44, above), (b) engaged in
7    the aforementioned activity despite an objectively high likelihood that Joybird’s
8    actions constituted infringement of the ’220 Patent, and (c) this objectively-defined
9    risk was either known or so obvious that it should have been known to Joybird.
10         49.    Additional allegations regarding Joybird’s pre-suit knowledge of the
11   ’220 Patent and willful infringement will likely have evidentiary support after a
12   reasonable opportunity for discovery.
13         50.    Lovesac is in compliance with any applicable marking and/or notice
14   provisions of 35 U.S.C. § 287 with respect to the ’220 Patent.
15         51.    Lovesac is entitled to recover from Joybird all damages that Lovesac
16   has sustained as a result of Joybird’s infringement of the ’220 Patent, including,
17   without limitation, a reasonable royalty and lost profits.
18         52.    Joybird’s infringement of the ’220 Patent was and continues to be
19   willful and deliberate, entitling Lovesac to enhanced damages.
20         53.    Joybird’s infringement of the ’220 Patent is exceptional and entitles
21   Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
22   U.S.C. § 285.
23         54.    Joybird’s infringement of the ’220 Patent has caused irreparable harm
24   (including the loss of market share) to Lovesac and will continue to do so unless
25   enjoined by this Court.
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                                                                                  COMPLAINT
                                              - 21 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 23 of 51 Page ID #:23




1                          COUNT III: PATENT INFRINGEMENT
2
                               U.S. PATENT NO. 8,783,778

3          55.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
4    fully set forth herein.
5          56.    On July 22, 2014, the United States Patent Office duly and legally
6    issued the ’778 Patent. A true and correct copy of the ’778 Patent is attached as
7    Exhibit C.
8          57.    Lovesac owns the ’778 Patent by assignment.
9          58.    Lovesac provided actual notice to Joybird of its infringement of the
10   ’778 Patent prior to the filing of this lawsuit.
11         59.    As just one non-limiting example, set forth below is an exemplary
12   infringement claim chart for claim 1 of the ’778 Patent in connection with the
13   Joybird Notch Modular product. This claim chart is based on publicly available
14   information, and Lovesac reserves the right to modify this claim chart, including, for
15   example, on the basis of information about the Joybird Notch Modular products that
16   Lovesac obtains in discovery.
17

18    ’778 patent, cl. 1                  Joybird Notch Modular Product
19
      A modular
20    furniture
21    assembly
      comprising:
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                                                                                COMPLAINT
                                               - 22 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 24 of 51 Page ID #:24




1                         Joybird Notch Modular – Assembly Instructions (Ex. I)
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10                        Joybird Notch Modular – Assembly Instructions (Ex. I)

11
     a base member
     having a frame
12   assembly; and
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20                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                        COMPLAINT
                                        - 23 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 25 of 51 Page ID #:25




1    a transverse
     member having a
2
     height that is
3    substantially
     greater than the
4
     height of the
5    base member, the
     transverse
6
     member having a
7    frame assembly;
8

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10                        Joybird Notch Modular – Assembly Instructions (Ex. I)
11   a foot configured
     to contact a
12
     support surface;
13   and
14

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19                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                        COMPLAINT
                                        - 24 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 26 of 51 Page ID #:26




1    a mounting
     platform, the
2
     mounting
3    platform
     configured to be
4
     mounted on both
5    the base member
     frame assembly
6
     and the
7    transverse
     member frame
8
     assembly to
9    thereby couple the   Joybird Notch Modular – Assembly Instructions (Ex. I)
10
     base member
     frame assembly
11   to the transverse
12   member frame
     assembly,
13
     wherein the foot
14   is selectively
15   mounted on the
     mounting
16   platform, such
17   that the foot is
     configured to
18
     contact the
19   support surface
     when the modular
20
     furniture
21   assembly is in an
     upright              Joybird Notch Modular – Assembly Instructions (Ex. I)
22
     configuration.
23

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                                                                        COMPLAINT
                                        - 25 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 27 of 51 Page ID #:27




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12                            Joybird Notch Modular – Assembly Instructions (Ex. I)
13

14         60.    Additionally and/or alternatively, Joybird has indirectly infringed and
15   continues to indirectly infringe the asserted claims of the ’778 Patent, in violation of
16   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
17   products to directly infringe the asserted claims of the ’778 Patent. In particular,
18   (a) Joybird has actual knowledge of the ’778 Patent or was willfully blind to its
19   existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
20   urges, or encourages users of the Joybird Notch Modular products to directly
21   infringe one or more claims of the ’778 Patent by promoting, advertising, and
22   instructing customers and potential customers about the Joybird Notch Modular
23   products and uses thereof, including infringing uses (See Ex. I), (c) Joybird knows
24   (or should know) that its actions will induce users of the Joybird Notch Modular
25   products to directly infringe one or more claims the ’778 Patent (see ¶ 58, above),
26   and (d) users of the Joybird Notch Modular products directly infringe one or more
27   claims of the ’778 Patent. For example, at a minimum, Joybird supplied and
28   continues to supply Joybird Notch Modular products to customers while knowing
                                                                                  COMPLAINT
                                              - 26 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 28 of 51 Page ID #:28




1    that use of the Joybird Notch Modular products infringes one or more claims of the
2    ’778 Patent and that Joybird’s customers then directly infringe one or more claims
3    of the ’778 Patent by installing and/or using the Joybird Notch Modular products in
4    accordance with Joybird’s product literature. See, e.g., Ex. I. As another example,
5    Joybird has supplied and continues to supply Joybird Notch Modular products to
6    customers while knowing that use of these products will infringe one or more claims
7    of the ’778 Patent and that Joybird’s customers directly infringe one or more claims
8    of the ’778 Patent by using Joybird Notch Modular products in accordance with
9    Joybird’s product literature. See, e.g., Ex. I.
10          61.    Additionally and/or alternatively, Joybird has indirectly infringed and
11   continues to indirectly infringe one or more of the claims of the ’778 Patent, in
12   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
13   and/or importing into the United States, components in connection with the Joybird
14   Notch Modular products that contribute to the direct infringement of the ’778 Patent
15   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
16   knowledge of the ’778 Patent or was willfully blind to its existence prior to, and no
17   later than, the filing of this action (see ¶ 58, above), (b) Joybird offers for sale, sells,
18   and/or imports, in connection with the Joybird Notch Modular products, one or more
19   material components of the invention of the ’778 Patent that are not staple articles
20   of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
21   should know) that such component(s) were especially made or especially adapted
22   for use in an infringement of the ’778 Patent, and (d) users of devices that comprise
23   such material component(s) directly infringe one or more claims of the ’778 Patent.
24   For example, at a minimum, Joybird offers for sale, sells, and/or imports Joybird
25   Notch Modular products that meet one or more claims of the ’778 Patent. See, e.g.,
26   Ex. I. The components of Joybird Notch Modular products are material components
27   of the devices that meet the one or more claims of the ’778 Patent. Further, Joybird
28   especially made and/or adapted the components of the Joybird Notch Modular
                                                                                     COMPLAINT
                                                - 27 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 29 of 51 Page ID #:29




1    products for use in devices that meet the one or more claims of the ’778 Patent, and
2    the components of Joybird Notch Modular products are not a staple article of
3    commerce suitable for substantial non-infringing use. Joybird’s customers directly
4    infringe the one or more claims of the ’778 Patent by installing and/or using the
5    components of the Joybird Notch Modular products.
6          62.    Joybird’s infringement of the ’778 Patent is also willful because Joybird
7    (a) had actual knowledge of the ’778 Patent and/or was willfully blind to its existence
8    prior to, and no later than, the filing of this action (see ¶ 58, above), (b) engaged in
9    the aforementioned activity despite an objectively high likelihood that Joybird’s
10   actions constituted infringement of the ’778 Patent, and (c) this objectively-defined
11   risk was either known or so obvious that it should have been known to Joybird.
12         63.    Additional allegations regarding Joybird’s pre-suit knowledge of the
13   ’778 Patent and willful infringement will likely have evidentiary support after a
14   reasonable opportunity for discovery.
15         64.    Lovesac is in compliance with any applicable marking and/or notice
16   provisions of 35 U.S.C. § 287 with respect to the ’778 Patent.
17         65.    Lovesac is entitled to recover from Joybird all damages that Lovesac
18   has sustained as a result of Joybird’s infringement of the ’778 Patent, including,
19   without limitation, a reasonable royalty and lost profits.
20         66.    Joybird’s infringement of the ’778 Patent was and continues to be
21   willful and deliberate, entitling Lovesac to enhanced damages.
22         67.    Joybird’s infringement of the ’778 Patent is exceptional and entitles
23   Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
24   U.S.C. § 285.
25         68.    Joybird’s infringement of the ’778 Patent has caused irreparable harm
26   (including the loss of market share) to Lovesac and will continue to do so unless
27   enjoined by this Court.
28

                                                                                  COMPLAINT
                                              - 28 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 30 of 51 Page ID #:30




1                          COUNT IV: PATENT INFRINGEMENT
2
                              U.S. PATENT NO. 10,123,623

3          69.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
4    fully set forth herein.
5          70.    On November 13, 2018, the United States Patent Office duly and
6    legally issued the ’623 Patent. A true and correct copy of the ’623 Patent is attached
7    as Exhibit D.
8          71.    Lovesac owns the ’623 Patent by assignment.
9          72.    Lovesac provided actual notice to Joybird of its infringement of the
10   ’623 Patent prior to the filing of this lawsuit.
11         73.    As just one non-limiting example, set forth below is an exemplary
12   infringement claim chart for claim 1 of the ’623 Patent in connection with the
13   Joybird Notch Modular product. This claim chart is based on publicly available
14   information, and Lovesac reserves the right to modify this claim chart, including, for
15   example, on the basis of information about the Joybird Notch Modular products that
16   Lovesac obtains in discovery.
17

18    ’623 patent, cl. 1                  Joybird Notch Modular Product
19
      A modular
20    furniture
21    assembly
      comprising:
22

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                                                                                COMPLAINT
                                               - 29 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 31 of 51 Page ID #:31




1                         Joybird Notch Modular – Assembly Instructions (Ex. I)
2

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10                        Joybird Notch Modular – Assembly Instructions (Ex. I)

11
     a base member
     providing a
12   seating surface;
13

14

15

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20                        Joybird Notch Modular – Assembly Instructions (Ex. I)
21

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                                                                        COMPLAINT
                                        - 30 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 32 of 51 Page ID #:32




1    a transverse
     member having a
2
     height that is
3    substantially
     greater than the
4
     height of the
5    seating surface of
     the base
6
     member,
7

8

9

10                        Joybird Notch Modular – Assembly Instructions (Ex. I)
11   a first coupler
     configured to
12
     selectively couple
13   the base member
     to the transverse
14
     member;
15

16

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20
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
21

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                                                                        COMPLAINT
                                        - 31 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 33 of 51 Page ID #:33




1    a second coupler,
     spaced apart
2
     from the first
3    coupler, the
     second coupler
4
     being configured
5    to selectively
     couple the base
6
     member to the
7    transverse
     member,
8

9

10
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
11

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                          Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                        COMPLAINT
                                        - 32 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 34 of 51 Page ID #:34




1    wherein the
     second coupler is
2
     positioned lower
3    than the first
     coupler, so as to
4
     selectively couple
5    together a lower
     portion of the
6
     base member to a
7    lower portion of
     the transverse
8
     member;
9

10
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
11

12

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21
                          Joybird Notch Modular – Assembly Instructions (Ex. I)
22

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                                                                        COMPLAINT
                                        - 33 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 35 of 51 Page ID #:35




1     wherein the first
      coupler
2
      selectively
3     couples together a
      higher portion of
4
      the base member
5     to a higher portion
      of the transverse
6
      member.
7

8

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10
                              Joybird Notch Modular – Assembly Instructions (Ex. I)
11

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21
                              Joybird Notch Modular – Assembly Instructions (Ex. I)
22

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25         74.    Additionally and/or alternatively, Joybird has indirectly infringed and
26   continues to indirectly infringe the asserted claims of the ’623 Patent, in violation of
27   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
28   products to directly infringe the asserted claims of the ’623 Patent. In particular,
                                                                                  COMPLAINT
                                              - 34 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 36 of 51 Page ID #:36




1    (a) Joybird has actual knowledge of the ’623 Patent or was willfully blind to its
2    existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
3    urges, or encourages users of the Joybird Notch Modular products to directly
4    infringe one or more claims of the ’623 Patent by promoting, advertising, and
5    instructing customers and potential customers about the Joybird Notch Modular
6    products and uses thereof, including infringing uses (See Ex. I), (c) Joybird knows
7    (or should know) that its actions will induce users of the Joybird Notch Modular
8    products to directly infringe one or more claims the ’623 Patent, and (d) users of the
9    Joybird Notch Modular products directly infringe one or more claims of the ’623
10   Patent. For example, at a minimum, Joybird supplied and continues to supply
11   Joybird Notch Modular products to customers while knowing that use of the Joybird
12   Notch Modular products infringes one or more claims of the ’623 Patent and that
13   Joybird’s customers then directly infringe one or more claims of the ’623 Patent by
14   installing and/or using the Joybird Notch Modular products in accordance with
15   Joybird’s product literature. See, e.g., Ex. I. As another example, Joybird has
16   supplied and continues to supply Joybird Notch Modular products to customers
17   while knowing that use of these products will infringe one or more claims of the
18   ’623 Patent and that Joybird’s customers directly infringe one or more claims of the
19   ’623 Patent by using Joybird Notch Modular products in accordance with Joybird’s
20   product literature. See, e.g., Ex. I.
21          75.    Additionally and/or alternatively, Joybird has indirectly infringed and
22   continues to indirectly infringe one or more of the claims of the ’623 Patent, in
23   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
24   and/or importing into the United States, components in connection with the Joybird
25   Notch Modular products that contribute to the direct infringement of the ’623 Patent
26   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
27   knowledge of the ’623 Patent or was willfully blind to its existence prior to, and no
28   later than, the filing of this action (see ¶ 72, above), (b) Joybird offers for sale, sells,
                                                                                     COMPLAINT
                                                - 35 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 37 of 51 Page ID #:37




1    and/or imports, in connection with the Joybird Notch Modular products, one or more
2    material components of the invention of the ’623 Patent that are not staple articles
3    of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
4    should know) that such component(s) were especially made or especially adapted
5    for use in an infringement of the ’623 Patent (see ¶ 72, above), and (d) users of
6    devices that comprise such material component(s) directly infringe one or more
7    claims of the ’623 Patent. For example, at a minimum, Joybird offers for sale, sells,
8    and/or imports Joybird Notch Modular products that meet one or more claims of the
9    ’623 Patent. See, e.g., Ex. I. The components of Joybird Notch Modular products
10   are material components of the devices that meet the one or more claims of the ’623
11   Patent. Further, Joybird especially made and/or adapted the components of the
12   Joybird Notch Modular products for use in devices that meet the one or more claims
13   of the ’623 Patent, and the components of Joybird Notch Modular products are not
14   a staple article of commerce suitable for substantial non-infringing use. Joybird’s
15   customers directly infringe the one or more claims of the ’623 Patent by installing
16   and/or using the components of the Joybird Notch Modular products.
17         76.    Joybird’s infringement of the ’623 Patent is also willful because Joybird
18   (a) had actual knowledge of the ’623 Patent or was willfully blind to its existence
19   prior to, and no later than, the filing of this action (see ¶ 72, above), (b) engaged in
20   the aforementioned activity despite an objectively high likelihood that Joybird’s
21   actions constituted infringement of the ’623 Patent, and (c) this objectively-defined
22   risk was either known or so obvious that it should have been known to Joybird.
23         77.    Additional allegations regarding Joybird’s pre-suit knowledge of the
24   ’623 Patent and willful infringement will likely have evidentiary support after a
25   reasonable opportunity for discovery.
26         78.    Lovesac is in compliance with any applicable marking and/or notice
27   provisions of 35 U.S.C. § 287 with respect to the ’623 Patent.
28

                                                                                  COMPLAINT
                                              - 36 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 38 of 51 Page ID #:38




1          79.    Lovesac is entitled to recover from Joybird all damages that Lovesac
2    has sustained as a result of Joybird’s infringement of the ’623 Patent, including,
3    without limitation, a reasonable royalty and lost profits.
4          80.    Joybird’s infringement of the ’623 Patent was and continues to be
5    willful and deliberate, entitling Lovesac to enhanced damages.
6          81.    Joybird’s infringement of the ’623 Patent is exceptional and entitles
7    Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
8    U.S.C. § 285.
9          82.    Joybird’s infringement of the ’623 Patent has caused irreparable harm
10   (including the loss of market share) to Lovesac and will continue to do so unless
11   enjoined by this Court.
12
                          COUNT V: PATENT INFRINGEMENT
13                           U.S. PATENT NO. 10,154,733
14         83.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
15   fully set forth herein.
16         84.    On December 18, 2018, the United States Patent Office duly and legally
17   issued the ’733 Patent. A true and correct copy of the ’733 Patent is attached as
18   Exhibit E.
19         85.    Lovesac owns the ’733 Patent by assignment.
20         86.    Lovesac provided actual notice to Joybird of its infringement of the
21   ’733 Patent prior to the filing of this lawsuit.
22         87.    As just one non-limiting example, set forth below is an exemplary
23   infringement claim chart for claim 1 of the ’733 Patent in connection with the
24   Joybird Notch Modular product. This claim chart is based on publicly available
25   information, and Lovesac reserves the right to modify this claim chart, including, for
26   example, on the basis of information about the Joybird Notch Modular products that
27   Lovesac obtains in discovery.
28

                                                                                COMPLAINT
                                               - 37 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 39 of 51 Page ID #:39




1

2    ’733 patent, cl. 1            Joybird Notch Modular Product
3
     A modular
4    furniture
5
     assembly
     comprising:
6

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13                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                          Joybird Notch Modular – Assembly Instructions (Ex. I)

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                                                                        COMPLAINT
                                        - 38 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 40 of 51 Page ID #:40




1    a base member
     having a frame
2
     assembly; and
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10                        Joybird Notch Modular – Assembly Instructions (Ex. I)
11   a transverse
     member having a
12
     frame assembly;
13

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20                        Joybird Notch Modular – Assembly Instructions (Ex. I)
21

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                                                                        COMPLAINT
                                        - 39 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 41 of 51 Page ID #:41




1    a mounting
     platform, the
2
     mounting
3    platform
     configured to be
4
     mounted on both
5    the base member
     and the
6
     transverse
7    member to
     thereby couple
8
     the base member
9    to the transverse    Joybird Notch Modular – Assembly Instructions (Ex. I)
10
     member;

11   and a foot
     configured to
12
     contact a support
13   surface;
14

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22                        Joybird Notch Modular – Assembly Instructions (Ex. I)
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                                                                        COMPLAINT
                                        - 40 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 42 of 51 Page ID #:42




1     wherein the foot
      is mounted on the
2
      mounting
3     platform,
4

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9                             Joybird Notch Modular – Assembly Instructions (Ex. I)
10

11    such that the foot
      is configured to
12
      contact the
13    support surface
      when the modular
14
      furniture
15    assembly is in an
      upright
16
      configuration.
17

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22                            Joybird Notch Modular – Assembly Instructions (Ex. I)
23

24         88.    Additionally and/or alternatively, Joybird has indirectly infringed and
25   continues to indirectly infringe the asserted claims of the ’733 Patent, in violation of
26   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
27   products to directly infringe the asserted claims of the ’733 Patent. In particular,
28   (a) Joybird has actual knowledge of the ’733 Patent or was willfully blind to its
                                                                                  COMPLAINT
                                              - 41 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 43 of 51 Page ID #:43




1    existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
2    urges, or encourages users of the Joybird Notch Modular products to directly
3    infringe one or more claims of the ’733 Patent by promoting, advertising, and
4    instructing customers and potential customers about the Joybird Notch Modular
5    products and uses thereof, including infringing uses (See Ex. I), (c) Joybird knows
6    (or should know) that its actions will induce users of the Joybird Notch Modular
7    products to directly infringe one or more claims the ’733 Patent (see ¶ 86, above),
8    and (d) users of the Joybird Notch Modular products directly infringe one or more
9    claims of the ’733 Patent. For example, at a minimum, Joybird supplied and
10   continues to supply Joybird Notch Modular products to customers while knowing
11   that use of the Joybird Notch Modular products infringes one or more claims of the
12   ’733 Patent and that Joybird’s customers then directly infringe one or more claims
13   of the ’733 Patent by installing and/or using the Joybird Notch Modular products in
14   accordance with Joybird’s product literature. See, e.g., Ex. I. As another example,
15   Joybird has supplied and continues to supply Joybird Notch Modular products to
16   customers while knowing that use of these products will infringe one or more claims
17   of the ’733 Patent and that Joybird’s customers directly infringe one or more claims
18   of the ’733 Patent by using Joybird Notch Modular products in accordance with
19   Joybird’s product literature. See, e.g., Ex. I.
20          89.    Additionally and/or alternatively, Joybird has indirectly infringed and
21   continues to indirectly infringe one or more of the claims of the ’733 Patent, in
22   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
23   and/or importing into the United States, components in connection with the Joybird
24   Notch Modular products that contribute to the direct infringement of the ’733 Patent
25   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
26   knowledge of the ’733 Patent or was willfully blind to its existence prior to, and no
27   later than, the filing of this action (see ¶ 86, above), (b) Joybird offers for sale, sells,
28   and/or imports, in connection with the Joybird Notch Modular products, one or more
                                                                                     COMPLAINT
                                                - 42 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 44 of 51 Page ID #:44




1    material components of the invention of the ’733 Patent that are not staple articles
2    of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
3    should know) that such component(s) were especially made or especially adapted
4    for use in an infringement of the ’733 Patent, and (d) users of devices that comprise
5    such material component(s) directly infringe one or more claims of the ’733 Patent.
6    For example, at a minimum, Joybird offers for sale, sells, and/or imports Joybird
7    Notch Modular products that meet one or more claims of the ’733 Patent. See, e.g.,
8    Ex. I. The components of Joybird Notch Modular products are material components
9    of the devices that meet the one or more claims of the ’733 Patent. Further, Joybird
10   especially made and/or adapted the components of the Joybird Notch Modular
11   products for use in devices that meet the one or more claims of the ’733 Patent, and
12   the components of Joybird Notch Modular products are not a staple article of
13   commerce suitable for substantial non-infringing use. Joybird’s customers directly
14   infringe the one or more claims of the ’733 Patent by installing and/or using the
15   components of the Joybird Notch Modular products.
16         90.    Joybird’s infringement of the ’733 Patent is also willful because Joybird
17   (a) had actual knowledge of the ’733 Patent or was willfully blind to its existence
18   prior to, and no later than, the filing of this action (see ¶ 86, above), (b) engaged in
19   the aforementioned activity despite an objectively high likelihood that Joybird’s
20   actions constituted infringement of the ’733 Patent, and (c) this objectively-defined
21   risk was either known or so obvious that it should have been known to Joybird.
22         91.    Additional allegations regarding Joybird’s pre-suit knowledge of the
23   ’733 Patent and willful infringement will likely have evidentiary support after a
24   reasonable opportunity for discovery.
25         92.    Lovesac is in compliance with any applicable marking and/or notice
26   provisions of 35 U.S.C. § 287 with respect to the ’733 Patent.
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                                                                                  COMPLAINT
                                              - 43 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 45 of 51 Page ID #:45




1          93.    Lovesac is entitled to recover from Joybird all damages that Lovesac
2    has sustained as a result of Joybird’s infringement of the ’733 Patent, including,
3    without limitation, a reasonable royalty and lost profits.
4          94.    Joybird’s infringement of the ’733 Patent was and continues to be
5    willful and deliberate, entitling Lovesac to enhanced damages.
6          95.    Joybird’s infringement of the ’733 Patent is exceptional and entitles
7    Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
8    U.S.C. § 285.
9          96.    Joybird’s infringement of the ’733 Patent has caused irreparable harm
10   (including the loss of market share) to Lovesac and will continue to do so unless
11   enjoined by this Court.
12                        COUNT VI: PATENT INFRINGEMENT
13                           U.S. PATENT NO. 10,806,261
14         97.    Lovesac incorporates by reference and re-alleges paragraphs 1-26 as if
15   fully set forth herein.
16         98.    On October 20, 2020, the United States Patent Office duly and legally
17   issued the ’261 Patent. A true and correct copy of the ’261 Patent is attached as
18   Exhibit F.
19         99.    Lovesac owns the ’261 Patent by assignment.
20         100. Lovesac provided actual notice to Joybird of its infringement of the
21   ’261 Patent prior to the filing of this lawsuit.
22         101. As just one non-limiting example, set forth below is an exemplary
23   infringement claim chart for claim 1 of the ’261 Patent in connection with the
24   Joybird Notch Modular product. This claim chart is based on publicly available
25   information, and Lovesac reserves the right to modify this claim chart, including, for
26   example, on the basis of information about the Joybird Notch Modular products that
27   Lovesac obtains in discovery.
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                                                                                COMPLAINT
                                               - 44 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 46 of 51 Page ID #:46




1

2    ’261 patent, cl. 6            Joybird Notch Modular Product
3
     A modular
4    furniture
5
     assembly
     comprising:
6

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13                        Joybird Notch Modular – Assembly Instructions (Ex. I)
14

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                          Joybird Notch Modular – Assembly Instructions (Ex. I)

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                                                                        COMPLAINT
                                        - 45 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 47 of 51 Page ID #:47




1    a planar base
     member having a
2
     generally
3    rectangular shape;
4

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10                         Joybird Notch Modular – Assembly Instructions (Ex. I)
11   a planar
     transverse
12
     member having a
13   generally
     rectangular shape,
14
     wherein the
15   height of the
     transverse
16
     member is
17   substantial greater
18
     than the height of
     the planar base
19   member; and
20                           Joybird Notch Modular – Assembly Instructions (Ex. I)
21

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                                                                            COMPLAINT
                                           - 46 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 48 of 51 Page ID #:48




1     a coupler
      configured to
2
      selectively couple
3     the planar base
      member to the
4
      planar
5     transverse
      member.
6

7

8

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10
                           Joybird Notch Modular – Assembly Instructions (Ex. I)
11

12         102. Additionally and/or alternatively, Joybird has indirectly infringed and
13   continues to indirectly infringe the asserted claims of the ’261 Patent, in violation of
14   35 U.S.C. § 271(b), by actively inducing users of the Joybird Notch Modular
15   products to directly infringe the asserted claims of the ’261 Patent. In particular,
16   (a) Joybird has actual knowledge of the ’261 Patent or was willfully blind to its
17   existence no later than, the filing of this Complaint, (b) Joybird intentionally causes,
18   urges, or encourages users of the Joybird Notch Modular products to directly
19   infringe one or more claims of the ’261 Patent by promoting, advertising, and
20   instructing customers and potential customers about the Joybird Notch Modular
21   products and uses thereof, including infringing uses (See Ex. I), (c) Joybird knows
22   (or should know) that its actions will induce users of the Joybird Notch Modular
23   products to directly infringe one or more claims the ’261 Patent (see ¶ 100, above),
24   and (d) users of the Joybird Notch Modular products directly infringe one or more
25   claims of the ’261 Patent. For example, at a minimum, Joybird supplied and
26   continues to supply Joybird Notch Modular products to customers while knowing
27   that use of the Joybird Notch Modular products infringes one or more claims of the
28   ’261 Patent and that Joybird’s customers then directly infringe one or more claims
                                                                                  COMPLAINT
                                              - 47 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 49 of 51 Page ID #:49




1    of the ’261 Patent by installing and/or using the Joybird Notch Modular products in
2    accordance with Joybird’s product literature. See, e.g., Ex. I. As another example,
3    Joybird has supplied and continues to supply Joybird Notch Modular products to
4    customers while knowing that use of these products will infringe one or more claims
5    of the ’261 Patent and that Joybird’s customers directly infringe one or more claims
6    of the ’261 Patent by using Joybird Notch Modular products in accordance with
7    Joybird’s product literature. See, e.g., Ex. I.
8           103. Additionally and/or alternatively, Joybird has indirectly infringed and
9    continues to indirectly infringe one or more of the claims of the ’261 Patent, in
10   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United States,
11   and/or importing into the United States, components in connection with the Joybird
12   Notch Modular products that contribute to the direct infringement of the ’261 Patent
13   by users of the Joybird Notch Modular products. In particular, (a) Joybird has actual
14   knowledge of the ’261 Patent or was willfully blind to its existence prior to, and no
15   later than, the filing of this action (see ¶ 100, above), (b) Joybird offers for sale, sells,
16   and/or imports, in connection with the Joybird Notch Modular products, one or more
17   material components of the invention of the ’261 Patent that are not staple articles
18   of commerce suitable for substantial non-infringing use, (c) Joybird knows (or
19   should know) that such component(s) were especially made or especially adapted
20   for use in an infringement of the ’261 Patent, and (d) users of devices that comprise
21   such material component(s) directly infringe one or more claims of the ’261 Patent.
22   For example, at a minimum, Joybird offers for sale, sells, and/or imports Joybird
23   Notch Modular products that meet one or more claims of the ’261 Patent. See, e.g.,
24   Ex. I. The components of Joybird Notch Modular products are material components
25   of the devices that meet the one or more claims of the ’261 Patent. Further, Joybird
26   especially made and/or adapted the components of the Joybird Notch Modular
27   products for use in devices that meet the one or more claims of the ’261 Patent, and
28   the components of Joybird Notch Modular products are not a staple article of
                                                                                      COMPLAINT
                                                - 48 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 50 of 51 Page ID #:50




1    commerce suitable for substantial non-infringing use. Joybird’s customers directly
2    infringe the one or more claims of the ’261 Patent by installing and/or using the
3    components of the Joybird Notch Modular products.
4          104. Joybird’s infringement of the ’261 Patent is also willful because Joybird
5    (a) had actual knowledge of the ’261 Patent or was willfully blind to its existence
6    prior to, and no later than, the filing of this action (see ¶ 100, above), (b) engaged in
7    the aforementioned activity despite an objectively high likelihood that Joybird’s
8    actions constituted infringement of the ’261 Patent, and (c) this objectively-defined
9    risk was either known or so obvious that it should have been known to Joybird.
10         105. Additional allegations regarding Joybird’s pre-suit knowledge of the
11   ’261 Patent and willful infringement will likely have evidentiary support after a
12   reasonable opportunity for discovery.
13         106. Lovesac is in compliance with any applicable marking and/or notice
14   provisions of 35 U.S.C. § 287 with respect to the ’261 Patent.
15         107. Lovesac is entitled to recover from Joybird all damages that Lovesac
16   has sustained as a result of Joybird’s infringement of the ’261 Patent, including,
17   without limitation, a reasonable royalty and lost profits.
18         108. Joybird’s infringement of the ’261 Patent was and continues to be
19   willful and deliberate, entitling Lovesac to enhanced damages.
20         109. Joybird’s infringement of the ’261 Patent is exceptional and entitles
21   Lovesac to attorneys’ fees and costs incurred in prosecuting this action under 35
22   U.S.C. § 285.
23         110. Joybird’s infringement of the ’261 Patent has caused irreparable harm
24   (including the loss of market share) to Lovesac and will continue to do so unless
25   enjoined by this Court.
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                                                                                   COMPLAINT
                                               - 49 -
 Case 2:21-cv-09904 Document 1 Filed 12/23/21 Page 51 of 51 Page ID #:51




1                                 PRAYER FOR RELIEF
2          WHEREFORE, Lovesac respectfully requests:
3          A.     That Judgment be entered that Joybird has infringed at least one or more
4    claims of the patents-in-suit, directly and/or indirectly, literally and/or under the
5    doctrine of equivalents, and that such infringement is willful;
6          B.     An injunction enjoining Joybird, its officers, agents, servants,
7    employees and attorneys, and other persons in active concert or participation with
8    Joybird, and its parents, subsidiaries, divisions, successors and assigns, from further
9    infringement of the patents-in-suit.
10         C.     An award of damages sufficient to compensate Lovesac for Joybird’s
11   infringement under 35 U.S.C. § 284, including an enhancement of damages on
12   account of Joybird’s willful infringement;
13         D.     That the case be found exceptional under 35 U.S.C. § 285 and that
14   Lovesac be awarded its reasonable attorneys’ fees;
15         E.     Costs and expenses in this action;
16         F.     An award of prejudgment and post-judgment interest; and
17         G.     Such other and further relief as the Court may deem just and proper.
18                                    JURY DEMAND
19         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Lovesac
20   demands a trial by jury on all claims and defenses so triable.
21

22
      Dated: December 23, 2021.             Respectfully submitted,

23                                          ORRICK HERRINGTON & SUTCLIFFE LLP
24                                          and
                                            WORKMAN NYDEGGER PC
25

26                                          By:   /s/ Alyssa Caridis
                                                  Alyssa Caridis
27
                                            Attorneys for The Lovesac Company
28

                                                                                 COMPLAINT
                                               - 50 -
